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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )   Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )


      DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO ENFORCE
             INJUNCTION AND FOR EXPEDITED DISCOVERY
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                                        INTRODUCTION

       The Court should deny Plaintiffs’ motion to enforce the Court’s injunction and for

discovery. The government is implementing the injunction in good faith and is entitled to a

presumption of good faith in its actions. Sossamon v. Lone Star State of Texas, 560 F.3d 316, 325

(5th Cir. 2009) (“government actors in their sovereign capacity and in the exercise of their official

duties are accorded a presumption of good faith because they are public servants”). The burden is

on Plaintiffs to identify specific non-compliance with the injunction, and they have not met their

heavy burden of proof to show the government is not acting in good faith to comply. Rather,

Plaintiffs demand an opportunity to examine multiple high-ranking agency officials regarding

privileged agency deliberations in order to seek evidence of such non-compliance without first

satisfying their heavy evidentiary burden for a motion to enforce. Further, they offer no valid basis

for their request for other broad-ranging discovery related to Haitian migrants, who have never

previously fallen within the scope of MPP and who have no connection to this lawsuit or the

Court’s injunction.

       The government has already provided the first of the monthly data reports the Court

ordered as the means of monitoring compliance with the injunction, and the government will be

providing a second report tomorrow. Additionally, although not ordered to do so, the government

provided a notice to the Court, accompanied by a declaration, setting out the agency’s extensive

efforts to re-implement MPP expeditiously. This Court should reject Plaintiffs’ assertion that more

is required, and their request that the Court micromanage the re-implementation of MPP,

international diplomacy with Mexico, and other aspects of how DHS is managing the border

unrelated to MPP.




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                                         BACKGROUND

       On August 13, 2021, the Court entered an injunction requiring Defendants to, inter alia,

“enforce and implement [the Migrant Protection Protocols] in good faith.” ECF No. 94 at 52;

see also Texas v. Biden, 10 F.4th 538, 559 (5th Cir. 2021) (noting “injunction only requires good

faith on the part of the United States—if the Government’s good-faith efforts to implement MPP

are thwarted by Mexico, it nonetheless will be in compliance with the district court’s order…”).

Defendants took immediate steps to comply with the injunction. As explained in the September

15, 2021 Notice of Compliance, ECF No. 105, Defendants are actively moving to re-implement

MPP in accordance with the Court’s order. Although MPP is not yet operational, Defendants are

recreating the administrative, personnel, physical, and policy framework necessary to operate MPP

and are prepared to re-implement MPP in mid-November, subject to Mexico’s decision to accept

those that the U.S. seeks to return. See Ex. 1, Declaration of Blas Nuñez-Neto, at ¶ 3. Defendants

have also engaged in multiple discussions with the Government of Mexico to explain the re-

implementation plans and secure Mexico’s independent decision to accept the return of those

enrolled in MPP. Id. ¶¶ 4-7. As previously explained, Mexico “reaffirmed its sovereign right to

admit or reject the entry of foreigners into its territory,” when MPP was first announced, AR149

(Statement   from    Government     of    Mexico),   and    again   following    the   injunction,

see https://www.gob.mx/sre/prensa/posicionamiento-sobreresolucion-de-los-ee-uu-respecto-de-

la-implementacion-de-la-seccion-235-b-2-c-de-su-ley-deinmigracion-y-nacionalidad, and MPP

cannot be re-implemented without Mexico’s decision to accept those enrolled in MPP.

       On September 23, 2021, Plaintiffs filed a Motion to Enforce Permanent Injunction and For

Expedited Discovery, ECF No. 107. Based on hearsay, out-of-context media reports on unrelated

subjects, and speculation, Plaintiffs claim Defendants are not working in good faith to re-




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implement MPP, primarily because, according to former Acting Commissioner of U.S. Customs

and Border Protection (CBP) Mark Morgan, Defendants are allegedly not following the precise

steps taken by the U.S. Department of Homeland Security (DHS) when MPP was first piloted in

2019. Id.; see ECF No. 108. Additionally, Plaintiffs claim they are entitled to discovery relating to

Defendants’ compliance—namely, six depositions of high-ranking agency officials—as well as

discovery relating to Haitian migrants, who were not previously returned to Mexico pursuant to

MPP because Mexico never agreed to accept their return under MPP. Mot. at 9-10. Plaintiffs seek

relief in the form of “an order (1) finding that Defendants are not in compliance with the permanent

injunction, (2) commanding concrete steps to comply; and (3) allowing expedited discovery

relating to compliance and specifically to the current crisis at the border with Haitian migrants.”

Id. at 10.

        Plaintiffs’ motion is meritless, and their requested relief should be denied.

                                           STANDARD

        Courts have the power to enforce compliance with their lawful orders. See Shillitani v.

United States, 384 U.S. 364, 370 (1966) (“There can be no question that courts have inherent

power to enforce compliance with their lawful orders through civil contempt.”). However, in

moving to enforce an injunction, the “movant … bears the burden of establishing by clear and

convincing evidence … that the respondent failed to comply with the court’s order.” Petroleos

Mexicanos v. Crawford Enterprises, Inc., 826 F.2d 392, 401 (5th Cir. 1987); see also Parsons v.

Ryan, 949 F.3d 443, 471 (9th Cir. 2020) (“the burden of proof properly rest[s] with Plaintiff[] as

the party seeking to demonstrate Defendants’ non-compliance”); In re Dual-Deck Video Cassette

Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993). A party moving for enforcement is not

entitled to a presumption of non-compliance, and a movant cannot show clear and convincing




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evidence by a combination of attenuated inferences and unsupported hearsay. See Bailey v. Roob,

567 F.3d 930, 935 (7th Cir. 2009). “The evidence must be ‘so clear, direct and weighty and

convincing as to enable the fact finder to come to a clear conviction, without hesitancy, of the truth

of the precise facts of the case.’” Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 582 (5th

Cir. 2005) (quoting Piggly Wiggly Clarksville, Inc. v. Mrs. Baird’s Bakeries, 177 F.3d 380, 383

(5th Cir. 1999)).1

        Even if Plaintiffs could establish by clear and convincing evidence that Defendants have

failed to perform “certain conduct” required by the injunction, Defendants “can defend against it

by showing a present inability to comply with the subpoena or order.” Petroleos Mexicanos, 826

F.2d at 401 (citing United States v. Rylander, 460 U.S. 752, 757 (1983)); accord SEIU Nat’l Indus.

Pension Fund v. Artharee, 48 F. Supp. 3d 25, 30 (D.D.C. 2014) (“[A] party can justify its failure

to comply with a court order by establishing [an] inability to comply or good faith substantial

compliance.”).

        Finally, when ordering compliance, a court “is obliged to use the least possible power

adequate to the end proposed.” Spallone v. United States, 493 U.S. 265, 276 (1990) (citations and

quotation marks omitted).

                                           ARGUMENT

   I.       Plaintiffs Fail to Show Defendants Are Not Re-implementing MPP in Good Faith.

        Defendants are re-implementing MPP in good faith, in as reasonably expeditious a manner

as is feasible. Plaintiffs’ unsubstantiated inferences and speculation do not prove otherwise, much

less by clear and convincing evidence. Plaintiffs’ motion rests on five contentions that Defendants




        1
        Plaintiffs do not dispute that they bear the burden of showing non-compliance by clear
and convincing evidence. See Mot. at 5.


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are not implementing MPP in good faith: (1) Defendants can fully re-implement MPP without any

engagement and consultation with Mexico; (2) Defendants have not implemented MPP on a rolling

basis in a “phased” approach as they did when initially piloting MPP; (3) Defendants are allegedly

waiting to have physical structures across the entire southwest border in place before re-

implementing MPP; (4) health measures necessitated by the COVID-19 pandemic have no bearing

on how expeditiously MPP can be re-implemented; and (5) “the present Haitian-migrant crisis”

could be addressed by the reimplementation of MPP. Plaintiffs’ theories lack merit.

       First, Defendants have made clear they are taking steps to re-implement MPP as

expeditiously as possible. The original implementation of MPP did not happen overnight. To the

contrary, it required, in addition to the agreement of Mexico, the creation of substantial physical

and operational infrastructure, which took time to put in place. Similar foundational work is

necessary now to re-establish MPP, which has been dormant for months, as resources were

directed to other operations. Defendants have detailed their comprehensive efforts to re-lay this

foundation, which includes engaging diplomatically with Mexico to explain the implementation

plan and attempt to secure its decision to accept MPP enrollees; rebuilding infrastructure and

reorganizing resources and personnel along the southwest border that are necessary to operate

MPP; developing space and capacity on immigration court dockets to accommodate immigration

court hearings for individuals returned to Mexico pursuant to MPP; identifying funding and

obtaining contracts to rebuild court hearing facilities used for immigration court hearings; and

drafting both internal guidance for DHS agents and officers who will be implementing MPP and

informational materials for the noncitizens who will be subject to it. See ECF No. 105 at 1-4; ECF

No. 105-1 ¶¶ 2-13; Ex. 1, ¶¶ 3-7. And while obtaining Mexico’s decision to accept MPP enrollees

is essential to make MPP operational, as explained further below, “DHS is not waiting for these




                                                5
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negotiations to conclude … before taking steps to reimplement MPP.” ECF No. 105-1 ¶ 5.

       Plaintiffs’ suggestion that MPP’s re-implementation should be proceeding on a different

course appear to be based on the claims of former Acting CBP Commissioner Mark Morgan.

See ECF No. 108. But Morgan’s declaration actually supports Defendants’ explanation that

securing Mexico’s decision to accept MPP enrollees is a necessary prerequisite to MPP’s

reimplementation. He acknowledges that MPP was implemented in 2019 pursuant to “an

agreement … obtained between the two countries” that was made “following extensive diplomatic

and logistical coordination,” and that the items requiring Mexico’s agreement are “foundational”

to the operation of MPP. Id. ¶ 17. Further, while Morgan describes MPP as initially being

implemented in a “phased” approach, he fails to note that Mexico’s independent decision to accept

returns to Mexico was necessary even in the places in which MPP was initially implemented. He

also fails to address how long it took from the initial agency decision to create MPP until the

phrased approach was ready to be implemented, which is of obvious relevance to MPP’s current

reimplementation. See id. ¶ 19. Indeed, it was not until over five weeks after the United States had

originally secured Mexico’s cooperation for MPP—from December 20, 2018 to January 28,

2019—that DHS began the first stage of the phased rollout of MPP. AR 149, 155, 156, 684. As of

this date, discussions with Mexico are ongoing. Mexico, however, has not yet exercised its

sovereign prerogative to accept any returns, ECF No. 105 ¶ 4.2



       2
          In addition, the Court should disregard Morgan’s opinions because federal regulations
preclude him from offering them in these circumstances. Except in situations inapplicable here,
regulation provides that “[DHS] employees shall not provide opinion or expert testimony based
upon information which they acquired in the scope and performance of their official Department
duties, except on behalf of the United States or a party represented by the Department of Justice.”
6 C.F.R. § 5.49(a). With regard to former employees, such testimony is excepted only to the extent
it “involves only general expertise gained while employed at the Department.” Id. § 5.49(b).
Morgan’s opinions about the details of MPP’s development and rollout clearly exceed “general
expertise.”


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       Second, Plaintiffs’ argument regarding Mexico’s cooperation fails to identify any

noncompliance by Defendants. Even if the initial announcement of MPP was made before

Mexico’s decision to accept returns had been obtained, Mexico’s decision was a necessary

prerequisite to the implementation of MPP, and it is likewise a necessary prerequisite to the re-

implementation of MPP. Ex. 1 ¶¶ 4-13. Among the many considerations, MPP cannot be restarted

absent a shared understanding of key aspects of the program, including “the demographic make-

up of individuals who can be returned to Mexico pursuant to MPP; in what circumstances and

locations returns and reentry for court-related matters can occur; how many individuals can be

enrolled in given locations; and what kind of support these individuals will receive while in

Mexico.” ECF No. 105-1 ¶ 4; see also Ex. 1 ¶¶ 6, 11-12. Recognizing the import of this

requirement, the Fifth Circuit noted that Mexico has the power to undermine re-implementation of

MPP if it does not agree with the United States’ planned implementation. See Texas v. Biden, 10

F.4th 538, 559 (5th Cir. 2021) (noting that “if the Government’s good-faith efforts to implement

MPP are thwarted by Mexico, it nonetheless will be in compliance with the district court’s

order…”).

       Plaintiffs assert that Defendants are improperly waiting to secure agreements with Mexico

before taking any steps to re-implement MPP. See Mot. at 6. But Plaintiffs also acknowledge

“certain portions of MPP do depend on Mexico’s assent,” id., and their declarant agrees that

aspects of MPP that Defendants cited as still awaiting Mexico’s assent are “foundational” aspects

of the program, ECF No. 108 ¶ 17. Moreover, as explained further below, “DHS is not waiting for

these negotiations to conclude … before taking steps to reimplement MPP,” and is instead fully

engaged in recreating the domestic administrative, personnel, and physical structures necessary to




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operationalize the program once Mexico independently decides to accept individuals for return

under the MPP. ECF No. 105-1 ¶ 5.3

       Plaintiffs also overlook the limitations on the statutory return authority under 8 U.S.C.

§ 1225(b)(2)(C) when they claim that the U.S. government does not need Mexico’s decision to

accept MPP enrollees to restart the program because the U.S. can simply “refuse admission” to

noncitizens amendable to MPP at ports of entry. Mot. at 6. MPP is not, and was never, a simple

refusal to admit noncitizens at ports of entry. Rather, MPP was applied only to noncitizens who

have crossed the border and are physically present in the U.S. and involves a process by which

they are placed into removal proceedings. Indeed, to be amenable to return under Section

1225(b)(2)(C), a noncitizen must both (1) “arriv[e] on land” from a foreign contiguous territory to

the United States and (2) be placed into removal proceedings under 8 U.S.C. § 1229a. See 8 U.S.C.

§ 1225(b)(2)(C) (“In the case of an alien described in subparagraph (A) who is arriving on land

(whether or not at a designated port of arrival) from a foreign territory contiguous to the United

States, the [Secretary] may return the alien to that territory pending a proceeding under section

1229a of this title.”4); ECF No. 105-1 ¶ 6 (“Before individuals can be placed into MPP, they must

be placed into removal proceedings ….”). Neither requirement can be met for noncitizens who

have not yet entered the United States. These noncitizens have not arrived in the United States and




       3
          Notably, while Plaintiffs argue here that “Defendants do not need an agreement with
Mexico,” Mot. at 6, Texas has argued in briefs filed in other cases in this district that the relief
granted in this case “ensures only that the Defendants will attempt to re-establish the Migrant
Protection Protocols in good faith; it cannot require Mexico to agree to reconstitute the program
on the same terms as previously existed, and even if it could do so it could not bind Mexico to
those terms.” Texas’s Consolidated Reply at 12-13, Texas v. Biden, No. 4:21-cv-579 (N.D. Tex.
Oct. 11, 2021).
        4
          Section 1225 refers to the Attorney General, but those functions have been transferred to
the Secretary of Homeland Security. See DHS v. Thuraissigiam, 140 S. Ct. 1959, 1965 n.3 (2020).



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therefore cannot be placed in removal proceedings. In short, the statute itself requires that

noncitizens must be on U.S. soil before they may be eligible for consideration for contiguous-

territory return.5

        Third, Plaintiffs wrongly assert that Defendants are awaiting construction of physical

Immigration Hearing Facilities (IHFs) before re-implementing MPP. Mot. at 6-7. To the contrary,

Defendants reported that there are already “some immigration courts near the border” that can be

used for MPP, ECF No. 105-1 ¶ 7, but that “these [pre-existing immigration courts] were not

sufficient to meet the program’s needs.” Id. And on October 13, DHS issued a task order under an

existing contract to rebuild the IHFs in Laredo and Brownsville, Texas. Ex. 1 ¶ 15. These facilities

will take about 30 days to construct at a cost of approximately $14.1 million to build and $10.5

million per month to operate, and will allow DHS to re-implement MPP border-wide, which it

currently deems preferable to operating MPP in only certain segments of the border. Id. ¶ 7.

Moreover, Defendants’ explanation that “DHS is taking steps to rebuild the infrastructure needed

for MPP and redeploy resources as needed” does not reference merely the physical infrastructure,

but the entire administrative, operational, personnel and policy edifice necessary to operate MPP,

all of which are underway regardless of the timing of IHF construction. ECF No. 105-1 ¶ 7; see,

e.g., id. (“Restarting MPP requires operational adjustments.”); id. ¶ 5 (“The task force is meeting

regularly to quickly and efficiently rebuild the infrastructure and reapportion the staffing required

to reimplement MPP.”); id. ¶ 9 (agency taskforce is reviewing and making “updates to past

protocols and practices, as well as updated guidance to the workforce”).




        5
         The majority of individuals who were previously placed in MPP were individuals who
had     already    entered      the   United     States    between      ports    of    entry.
See https://www.cbp.gov/newsroom/stats/migrant-protection-protocols; https://www.cbp.gov/
newsroom/stats/migrant-protection-protocols-fy-2020.


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       Fourth, Defendants are not delaying re-implementation of MPP due to COVID-19 or Title

42, as Plaintiffs hypothesize. See Mot. at 8-9. Defendants simply explained that many noncitizens

are currently being expelled under Title 42 and, therefore, would not be processed for return under

MPP even if the program was fully operational at this time. ECF No. 105 at 4. Defendants also

noted that re-implemented MPP procedures and facilities will have to account for the health risk

posed by COVID-19. Id. at 3. And despite the fact that the government previously developed

guidelines for restarting court hearings for MPP cases during the pandemic, those plans were

developed prior to the arrival of the Delta variant and never implemented. Ex. 1 ¶ 18. The

unexpected emergence of the highly contagious Delta variant this past year added an additional

complicating factor that requires updates to these guidelines. Id. As a result, DHS is continuing to

review—and in the course of finalizing—the measures needed to ensure that hearings can take

place in a manner that protects government personnel, communities, and migrants from the spread

of COVID-19. Id.

       Fifth, Plaintiffs suggest that the “present Haitian-migrant crisis” demonstrates that

Defendants are not re-implementing MPP in good faith and that MPP must be made fully

operational immediately to handle the crisis. Mot. at 9; see id. at 2-4. But the recent influx of

Haitians has no bearing on the re-implementation of MPP: In the prior implementation of MPP,

Mexico accepted the return only of Spanish-speaking nationals and Brazilians in certain locations.

Ex. 1 ¶ 5. Mexico did not agree to accept the return of Haitians or other nationals of non-Spanish-

speaking nations under MPP. Id.; see also CBP, Migrant Protection Protocol Guidance, p. 21,

https://www.cbp.gov/sites/default/files/assets/documents/2021-Aug/

Migrant%20Protection%20Protocols%2001.pdf; Cong. Res. Serv., “Supreme Court Grants Stay

in MPP Case,” Mar. 8, 2020 (noting that CBP guidance “exclude[s] some other populations from




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the program, such as aliens from non-Spanish speaking countries other than Brazil”); Spagat,

Elliot, “Guidelines ask agents to target Spanish speakers at the border,” AP News (Mar. 7, 2019),

https://apnews.com/article/caribbean-border-patrols-az-state-wire-tx-state-wire-central-america-

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         Thus, Plaintiffs fail to establish by “clear, direct and weighty and convincing” evidence

that Defendants have failed to comply with the Court’s injunction. Test Masters Educ. Servs., Inc.,

428 F.3d at 582. Defendants continue to seek Mexico’s assent, as required to fully implement

MPP. Defendants cannot, despite their ongoing good faith efforts to secure this assent, direct

Mexico’s foreign policy or control when Mexico will reach a decision. Plaintiffs’ motion to

enforce the injunction should be denied.

   II.       Plaintiffs Are Not Entitled to Discovery.

         Plaintiffs also request broad-ranging discovery, including depositions of multiple high-

ranking agency officials, and discovery related to Haitian migrants (who would not have been

returned under MPP) for time periods well before the start of this case. Mot. at 9-10. The Court

should reject this extraordinary request.




         6
          Because the number of Haitian migrants arriving at the southwest border is not related to
the prior termination of MPP, Plaintiffs’ assertions with respect to these migrants is not evidence
of non-compliance with the injunction. In any event, DHS has already addressed the other
measures it is using to address Haitian migrants arriving at the border: “The majority of migrants
continue to be expelled under CDC’s Title 42 authority. Those who cannot be expelled under Title
42 and do not have a legal basis to remain will be placed in expedited removal proceedings. DHS
is conducting regular expulsion and removal flights to Haiti, Mexico, Ecuador, and Northern
Triangle     countries.”    https://www.dhs.gov/news/2021/09/18/dhs-outlines-strategy-address-
increase-migrants-del-rio.



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       i.      There is no basis for Plaintiffs to depose agency officials.

       Plaintiffs assert they “are entitled to discovery relating to the facts articulated in

Defendants’ recently filed compliance report,” and request that they “be allowed to examine” Blas

Nuñez-Neto, Chief Operating Officer at U.S. Customs and Border Protection (CBP),7 regarding

“the full scope of and basis for Defendants’ actions.” Mot. at 9. But Plaintiffs offer no specific

argument for why they should be allowed to depose Mr. Nuñez-Neto. Mot. at 9. Plaintiffs further

assert they “should be allowed to depose” now-former DHS Assistant Secretary for Border

Security and Immigration David Shahoulian,8 Principal Deputy Chief Immigration Judge Daniel

H. Weiss, and Senior Bureau Official in the Bureau of Western Hemisphere Affairs at the U.S.

Department of State Ricardo Zúniga.9 Id. Plaintiffs acknowledge, however, that these high-ranking

officials did not submit declarations with Defendants’ notice to the Court on compliance with the

injunction, and Plaintiffs offer no other specific argument to justify these depositions beyond

stating that they would like to question these officials “on the actions that have actually been

undertaken to implement MPP.” Id. Finally, Plaintiffs assert they “should be allowed to take the

depositions of two other officials”: “CBP’s Acting Deputy Commissioner Benjamine ‘Carry’

Huffman[,] … regarding CBP procurement,” and “Deputy Undersecretary for Management

Randolph D. ‘Tex’ Alles,” also regarding “DHS’s procurement.” Mot. at 9. But neither of these

individuals has previously submitted a declaration in this case, and Plaintiffs provide no further

justification for these depositions.

       Plaintiffs have not met their substantial burden to establish they are entitled to discovery



       7
        Mr. Nuñez-Neto is currently detailed to the position of Acting Assistant Secretary of
Homeland Security for Border Security and Immigration.
      8
        David Shahoulian has left the Department of Homeland Security.
      9
        Ricardo Zúniga is now Principal Deputy Assistant Secretary for the Bureau of Western
Hemisphere Affairs.


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or depositions. Plaintiffs certainly have not provided clear and convincing evidence of non-

compliance. See, e.g., Kinnear-Weed Corp. v. Humble Oil & Ref. Co., 441 F.2d 631, 634 (5th Cir.

1971) (“Speculation and suspicion are just not any evidence at all” and cannot satisfy “burden of

producing clear and convincing evidence.”); Madison Servs., Inc. v. United States, 94 Fed. Cl. 501,

507-08 (2010) (noting “it is one thing to allege, it is another to prove” and finding clear-and-

convincing standard not met where “[f]or its proof, plaintiff basically spins three inferences drawn

from [defendants’] Declaration and then weaves a smorgasbord of steps to account for the alleged

bad faith”). As Defendants have explained, MPP cannot be re-implemented without concurrence

and support from Mexico, see supra 5-8, MPP cannot be implemented border-wide without

redeploying staff and resources and rebuilding certain infrastructure, see supra 9-10, and MPP has

never been applied to Haitians, see supra 10-11. In the portion of their motion seeking discovery,

see Mot. at 9-10, Plaintiffs put forth no additional arguments on these points to justify their request

for this additional relief. Plaintiffs are not entitled to conduct a fishing expedition merely to assuage

their unsupported concerns that the government is not complying with the injunction.

        Even if Plaintiffs had provided a basis for seeking discovery, they still could not meet the

standard for seeking depositions of high-ranking agency officials. See Spallone v. United States,

493 U.S. 265, 276 (1990) (When ordering compliance, a court “is obliged to use the least possible

power adequate to the end proposed.” (citations and quotation marks omitted)). First, Plaintiffs’

requested depositions to explore the thought processes of high-ranking agency officials and

internal agency planning and decision-making are likely to intrude on the deliberative process

privilege. “The deliberative process privilege rests on the obvious realization that officials will not

communicate candidly among themselves if each remark is a potential item of discovery and front

page news, and its object is to enhance the quality of agency decisions, by protecting open and




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frank discussion among those who make them within the Government.” Dep’t of Interior v.

Klamath Water Users Protective Ass’n, 532 U.S. 1, 8-9 (2001). Plaintiffs cite no cases in support

of their assertion that they are entitled to probe internal agency deliberations. Cf. Oceana, Inc. v.

Ross, 920 F.3d 855, 865 (D.C. Cir. 2019) (“[A]bsent a showing of bad faith or improper behavior,

‘[a]gency deliberations … are deemed immaterial.’”); City of Dallas, Tex. v. Hall, No. 3:07- CV-

060-P, 2007 WL 3257188, at *4 (N.D. Tex. Oct. 29, 2007) (noting agency procedures are “entitled

to a presumption of administrative regularity”). Plaintiffs’ contrary request would “improperly

probe the thought and decision making processes of administrators.” Morgan v. United States, 304

U.S. 1, 18 (1938). And, in this case, because implementing MPP requires sensitive negotiations

with Mexico, Plaintiffs’ request improperly seeks to probe internal agency deliberations with

respect to foreign relations and sensitive negotiations about how to manage an international border.

       Plaintiffs’ demand for depositions is also inappropriate under the well-recognized principle

that high-ranking government officials, both current and former, should not—absent exceptional

circumstances—be deposed or called to testify regarding their reasons for taking official action.

See, e.g., Franklin Sav. Ass’n v. Ryan, 922 F.2d 209, 211 (4th Cir. 1991); Lederman v. N.Y.C.

Dep’t of Parks & Recreation, 731 F.3d 199, 203-04 (2d Cir. 2013) (addressing both current and

former officials); Bogan v. City of Boston, 489 F.3d 417, 423 (1st Cir. 2007); Simplex Time

Recorder Co. v. Sec’y of Labor, 766 F.2d 575, 586-87 (D.C. Cir. 1985). In Morgan, the Supreme

Court overturned the district court’s order permitting the deposition of the Secretary of Agriculture

on his process in reaching an official decision, admonishing that he “should have never been

subjected to this examination.” 313 U.S. at 421-22. It is thus “a settled rule in this circuit that

‘exceptional circumstances must exist before the involuntary depositions of high agency officials

are permitted,” and “it will be the rarest of cases . . . in which exceptional circumstances can be




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shown where the testimony is available from an alternate witness.” In re FDIC, 58 F.3d at 1060,

1062. “[T]op executive department officials should not, absent extraordinary circumstances, be

called to testify regarding their reasons for taking official actions.” Simplex Time Recorder Co. v.

Sec’y of Labor, 766 F.2d 575, 586-87 (D.C. Cir. 1985); see also In re Cheney, 544 F.3d 311, 314

(D.C. Cir. 2008) (“The duties of high-ranking executive officers should not be interrupted by

judicial demand for information that could be obtained elsewhere.”).

       Accordingly, the Fifth Circuit and other courts have applied this doctrine to issue writs of

mandamus to preclude depositions or testimony by high-ranking executive branch officials.

See, e.g., In re FDIC, 58 F.3d 1055, 1063 (5th Cir. 1995) (members of the Board of Directors of

the Federal Deposit Insurance Corporation); In re McCarthy, 636 F. App’x 142, 145 (4th Cir.

2015) (EPA Administrator); In re Commodity Future Trading Comm’n, 941 F.3d 869, 875 (7th

Cir. 2019) (CFTC chairman, commissioners, and staff); In re Cheney, 544 F.3d 311, 314 (D.C.

Cir. 2008) (Vice President’s Chief of Staff); In re United States (“Holder”), 197 F.3d 310, 316

(8th Cir. 1999) (Attorney General and Deputy Attorney General); In re United States (“Kessler”),

985 F.2d 510, 513 (11th Cir. 1993) (per curiam) (FDA Commissioner). Like the record rule and

the deliberative process privilege, the “apex doctrine” recognized in these cases is designed to

protect constitutional separation of powers principles, and to prevent revealing the thoughts and

mental processes by which high-ranking agency officials exercise their official discretion. See

Morgan, 313 U.S. at 422 (“Just as a judge cannot be subjected to such a scrutiny, . . . so the integrity

of the administrative process must be equally respected.” (citations omitted)). The Supreme Court

has thus repeatedly confirmed that, absent “a strong showing of bad faith or improper behavior,”

discovery into “the mental processes of administrative decisionmakers” is unwarranted. Dep’t of

Commerce v. New York, 139 S. Ct. 2551, 2573-74 (2019) (citation omitted); see also In re Dep’t




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of Commerce, 139 S. Ct. 16 (2018) (staying the district court’s order authorizing the deposition of

the Secretary of Commerce about his decisionmaking). Plaintiffs have not made any showing of

bad faith, let alone the strong showing of bad faith action that at a minimum must be established

before requesting discovery.

       Moreover, subjecting high-ranking agency officials to testimony here would impede the

exercise of official duties, including those related to implementing the injunction and managing

the border. See In re FDIC, 58 F.3d 1055, 1060 (5th Cir. 1995) (“High ranking government

officials have greater duties and time constraints than other witnesses.”); In re United States, 985

F.2d 510, 512 (11th Cir. 1993) (“[t]he reason for requiring exigency before allowing the testimony

of high officials is obvious. High ranking government officials have greater duties and time

constraints than other witnesses”). “[S]ubjecting officials to interrogation about how they reached

particular decisions would impair that decision-making process by making officials less willing to

explore and discuss all available options.” Walker v. NCNB Nat’l Bank of Fla., 810 F. Supp. 11,

12 (D.D.C. 1993); In re Stone, 986 F.2d 898, 904 (5th Cir. 1993) (“[h]igh-ranking officials of

cabinet agencies could never do their jobs if they could be subpoenaed for every case involving

their agency.”); see also Sykes v. Brown, 90 F.R.D. 77, 78 (E.D. Pa. 1981) (“Should the agency

head be subject to deposition in every resulting case and be repeatedly required to explain the

various mental steps he took to reach his decision, the decision may be his last.”). Plaintiffs’

demand that multiple agency officials be required to devote the time and attention necessary to

prepare and sit for depositions would impede those individuals’ ability to do their critical jobs.

Plaintiffs have not shown “exceptional circumstances” or that this is the “rarest of cases” where

such testimony might be warranted. In re FDIC, 58 F.3d at 1060, 1062.




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       ii.     There is no basis for Plaintiffs to seek discovery related to Haitian migrants.

       Plaintiffs next seek a range of discovery related to “Haitian migrants” that is unrelated to

the injunction and, in fact, unrelated to this case as a whole. Mot. at 9. The Court should reject this

request as well.

       Plaintiffs first seek discovery to determine whether “Defendants are releasing Haitian

migrants,” who they argue “would be amenable to MPP if it were operational.” Mot. at 9. But as

noted above, in the prior implementation of MPP, Mexico placed limitations on the categories of

individuals it would accept to be returned under MPP, and never accepted individuals from Haiti.

See supra 10-11; Ex. 1 ¶ 5. Thus, discovery into the circumstances of Haitians’ migration is

completely irrelevant to Plaintiffs’ fundamental demand in this case that Defendants reinstate

MPP. Success on a motion to enforce a judgment gets a plaintiff only ‘the relief to which [the

plaintiff] is entitled under [its] original action and the judgment entered therein.’” Heartland Reg’l

Med. Ctr. v. Leavitt, 415 F.3d 24, 29 (D.C. Cir. 2005) (quoting Watkins v. Washington, 511 F.2d

404, 406 (D.C. Cir. 1975)). Plaintiffs cannot seek broad-ranging discovery related to other

categories of noncitizens who were not previously returned to Mexico pursuant to MPP or the

subject of this lawsuit in the guise of seeking to enforce the Court’s order to re-implement MPP.10



       10
            For injunctive relief to be proper, “there must be a relationship between the injury
claimed in the motion for injunctive relief and the conduct asserted in the underlying complaint.”
Pac. Radiation Oncology, LLC v. Queen’s Med. Ctr., 810 F.3d 631, 636 (9th Cir. 2015). Because
Plaintiffs’ complaint does not raise challenges related to Haitian migrants, but rather challenges
related to MPP—which has never been applied to Haitian migrants—Plaintiffs have no basis to
seek relief related to Haitian migrants in this case, nor do they have any basis to seek information
or relief related to such migrants. There is no basis to order relief that is unrelated to the “conduct
asserted in the underlying complaint.” De Beers Consol. Mines v. United States, 325 U.S. 212, 219
(1945) (the issuance of injunctive relief “presupposes or assumes ... that a decree may be entered
after a trial on the merits enjoining and restraining the defendants from certain future conduct”).
A ruling extending relief to claims not contained in the complaint would be an abuse of discretion.
See, e.g., Pac. Radiation Oncology, LLC, 810 F.3d at 637; Colvin v. Caruso, 605 F.3d 282, 300



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Further, Plaintiffs seek information related to Haitian migrants “broken down on a monthly basis

beginning January 21, 2021,” Mot. at 10, which is well before the injunction was issued—and

before this case was even filed—further undermining Plaintiffs’ argument that their request is

related to compliance with the injunction and the Court’s ruling on their claims.

       Second, Plaintiffs seek information related to Defendants’ parole practices with respect to

Haitian migrants. Mot. at 10. This request is irrelevant for the same reasons—MPP did not apply

to individuals from Haiti. And, more broadly, this request is unrelated to the injunction or any

claims in this case, as Plaintiffs conceded at argument:

       THE COURT: Isn’t Plaintiffs’ case truly a challenge to the government’s parole practices

       and not the termination of MPP?

       MR. THOMPSON: No, Your Honor. We’re not challenging, you know, any kind of

       individual grant of parole or even the parole policies.

Trial Tr. at 63:17-21. There is no basis to order discovery into parole practices Plaintiffs did not

challenge in this case and which Plaintiffs affirmatively waived any challenge to, or their

application to individuals who were not amenable to MPP in any event.11 Nor, as noted previously,



(6th Cir. 2010) (plaintiff “had no grounds to seek an injunction pertaining to allegedly
impermissible conduct not mentioned in his original complaint”); State v. U.S. Army Corps of
Eng’rs, 424 F.3d 1117, 1134 (11th Cir. 2005) (explaining that “relief must relate in some fashion
to the relief requested in the complaint”); see also Bucklew v. St. Clair, No. 3:18-CV-2117-N
(BH), 2019 WL 2251109, at *2 (N.D. Tex. May 15, 2019); Booker v. McDuffie, No. 5:18-CV-208-
BQ, 2019 WL 3937225, at *2 (N.D. Tex. July 22, 2019); Infinite Fin. Sols., Inc. v. Strukmyer,
LLC, No. 3:14-CV-354-N, 2014 WL 12586282, at *9 (N.D. Tex. July 29, 2014) (where plaintiff's
“motion raises issues different from those presented in the complaint, the court has no jurisdiction
over the motion”).
        11
           Plaintiffs argue that Defendants did not challenge the district court’s statement that
“[w]ithout MPP, Defendants are forced to release and parole aliens into the United States because
Defendants simply do not have the resources to detain aliens as mandated by the statute.” Mot. at
10 (citing ECF No. 94 at 17). But Defendants have challenged that finding. See Emergency Motion
For Stay Pending Appeal, No. 21-10806 (5th Cir. Aug. 17, 2021), at 7 (arguing there was no



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could Plaintiffs challenge parole practices. See Loa-Herrera v. Trominski, 231 F.3d 984, 991 &

n.12 (5th Cir. 2000) (“‘[Secretary’s] discretionary judgment regarding the application of’ parole—

including the manner in which that discretionary judgment is exercised, and whether the

procedural apparatus supplied satisfies regulatory, statutory, and constitutional constraints—is

‘not ... subject to review.’”).

                                        CONCLUSION

        For these reasons, the Court should deny the motion.




evidence before the district court showing an increase in the number of noncitizens released or
paroled as a result of MPP’s termination); Brief for Appellants, No. 21-10806 (5th Cir. Sept. 20,
2021), at 12-14, 37. This Court acknowledged in its ruling that “a perusal of the entire
administrative record shows zero evidence of DHS’s detention capacity.” ECF No. 94 at 42.




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     Dated: October 14, 2021            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 14, 2021, I electronically filed this response with the Clerk

of the Court for the United States District Court for the Northern District of Texas by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                              /s/ Brian C. Ward
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